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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON AT SEATTLE

JOSHUA J. E. SMITH, IN LAW AND IN ADMIRALTY
Plaintiff, NO.
VS. VERIFIED COMPLAINT IN REM AND
IN PERSONAM FOR FORECLOSURE OF
F/V KELSEY NICOLE, Official PREFERRED MARITIME LIENS

No. 1210115, her engines, tackle, apparel,
furniture, and equipment, in rem, and
JOSHUA J. MILLER, in personam,

Defendants.

 

 

 

 

By way of Verified Complaint, Plaintiff Joshua J. E. Smith alleges as follows:
I. PARTIES

1.1 Plaintiff Joshua J. E. Smith (Smith) is a resident of Olympia, Thurston County,
Washington. Plaintiff Leitzke is a seaman and entitled to bring this suit without prepayment of
fees, costs or furnishing security pursuant to 28 U.S.C. § 1916.

Le Defendant vessel F/(V KELSEY NICOLE, Official Number 1210115, is a
fishing vessel registered and documented under the laws of the United States with a gross
tonnage of at least 20 tons, and is now within the navigable waters of the Western District of

Washington and within the jurisdiction of this Court.

VERIFIED COMPLAINT IN REM AND IN PERSONAM FOR HAROLD A. THOREEN, P.S., INC.

FORECLOSURE OF PREFERRED MARITIME LIENS - 1 FISHERMEN'S TERMINAL - NORDBY BUILDING
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1.3 Defendant Joshua J. Miller (Miller) is, on information and belief, a resident of
Petersburg or Sitka, Alaska and at all times hereto was the sole owner and/or operator of the
F/V KELSEY NICOLE, O.N. 1210115.

Il. JURISDICTION AND VENUE

2.1 This is a civil case of admiralty and maritime jurisdiction under 28 U.S.C.
Section 1333, and is within the scope of Federal Rules of Civil Procedure 9(h), and is an action
to enforce maritime liens under the Supplemental Rules for Certain Admiralty and Maritime
Claims. The federal district court also has original subject matter jurisdiction over this matter
under 46 U.S.C. Section 31326.

2.2. The Court has pendant and supplemental jurisdiction over the related claims and
parties under 28 U.S.C. Section 1367 and 46 U.S.C. Section 31326.

2.3 Venue is appropriate under 28 U.S.C. Section 1391(b)(2) because the
F/V KELSEY NICOLE is within the territorial jurisdiction of this Court.

Hil. FACTUAL BACKGROUND

1. 2012 OUTFITTING AND DELIVERY
OF KELSEY NICOLE

3.1 During February 2012, Defendant Miller from his residence in Alaska contacted
Plaintiff Smith at his then residence in Oxnard, California and asked Plaintiff Smith to outfit
Defendant Miller’s vessel F/V KELSEY NICOLE and serve as “hired skipper” onboard the
F/V KELSEY NICOLE for the 2012 California Squid/Sardine Fishery (2012 Squid/Sardine
Fishery).

3.2 At the time of hiring, Defendant Miller requested that Plaintiff Smith perform
repairs, maintenance and outfitting of the F/V KELSEY NICOLE at its moorage in Everett,
Washington in preparation for the 2012 Squid/Sardine Fishery.

33 Between February 20, 2012 and April 7, 2012, Plaintiff Smith performed
repairs, maintenance and outfitting of the F/(V KELSEY NICOLE in Everett, Washington as
requested by Defendant Miller. Plaintiff Smith expended in excess of 240 hours while
performing said services. Plaintiff Smith is entitled to wages at the rate of $25.00 per hour, or

such greater amount as is proven at trial, for the over 240 hours for a total in excess of

$6,000.00 for his labor on the F/V KELSEY NICOLE.

VERIFIED COMPLAINT IN REM AND IN PERSONAM FOR HAROLD A. THOREEN, P.S., INC.
FORECLOSURE OF PREFERRED MARITIME LIENS - 2 FISHERMEN S EERMINAL NORDEY UIEDES
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3.4 Plaintiff Smith incurred in excess of $1,800.00 in out-of-pocket expenses in
conjunction with his labor on the F/V KELSEY NICOLE.

3.5 Despite demand, Defendant Miller has not paid Plaintiff Smith for his labor or
reimbursed him for his out-of-pocket expenses in repairing, maintaining and outfitting the
F/V KELSEY NICOLE for the 2012 Squid Fishery.

3.6 On April 7, 2012, at the request of Defendant Miller, Plaintiff Smith departed
Everett, Washington for Moss Landing, California as hired skipper of the F/V KELSEY
NICOLE for the 2012 Squid Fishery. Plaintiff Smith and the F/(V KELSEY NICOLE arrived
in Moss Landing, California on April 12, 2012.

3.7. The voyage of the F/V KELSEY NICOLE took 5/5 days and approximately
132 hours. Defendant Miller owes Plaintiff Smith $3,300.00 in wages, or such greater amount
as is proven at trial, for said voyage. Despite demand, Defendant Miller has failed to pay
Plaintiff Smith any part of said wages.

3.8 Defendant Miller did not have a written fishing agreement with Plaintiff Smith
prior to departing from Everett, Washington onboard the F/V KEYSEY NICOLE for the
2012 Squid/Sardine Fishery.

2. EMPLOYMENT AND DELIVERY FOR
2012 CALIFORNIA SQUID/SARDINE FISHERY

3.9 Onor about May 23, 2012, prior to commencement of the 2012 Squid/Sardine
Fishery and pursuant to mutual agreement with Defendant Miller, Plaintiff Smith left the
F/V KELSEY NICOLE to work onboard a different vessel. At said time, Defendant Miller
promised Plaintiff Smith continuing employment on the F/V KELSEY NICOLE for the 2012
California Squid/Sardine Fishery when he was ready to return.

3.10 Onor about October 22, 2012, Defendant Miller contacted Plaintiff Smith at his
residence in Westport, Washington and asked Plaintiff Smith to return to the KELSEY
NICOLE as engineer. Plaintiff Smith returned to the KELSEY NICOLE as its engineer and
continued to serve in said capacity until the end of the 2012 California Squid/Sardine Fishery.

3.11 Defendant Miller did not have a written fishing agreement with Plaintiff prior to
his employment as engineer and Master of the KELSEY NICOLE.

VERIFIED COMPLAINT IN REM AND IN PERSONAM FOR HAROLD A. THOREEN, P.S., INC.

FORECLOSURE OF PREFERRED MARITIME LIENS - 3 FISHERMEN’S TERMINAL * NORDEY BUILDING
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3.12 Defendant Miller has failed to provide Plaintiff Smith with a full accounting of
the income and expenses of the KELSEY NICOLE during the course of his employment for
the 2012 California Squid/Sardine Fishery.

3.13 Defendant Miller owes Smith such balance of wages for his employment on the
KELSEY NICOLE as will be determined upon receipt of a full accounting from Defendant
Miller and proven at trial, but for purpose of this pleading is believed to be in excess of
$3,000.00 through the end of the 2012 California Squid/Sardine Fishery during which time he
served as engineer and Skipper of the KELSEY NICOLE. Despite demand, Defendant Miller
has failed to pay Plaintiff Smith the balance of wages he is owed.

3. 2012-2013 OUTFITTING OF KELSEY NICOLE

3.14 Onor about December 11, 2012, Defendant Miller asked Plaintiff Smith to
serve as his “hired skipper” of the F/V KELSEY NICOLE for the 2013 California Squid
Fishery (2013 Squid Fishery). At the time of said hiring, the F/'V KELSEY NICOLE was
moored in Ventura, California.

3.15 On December 12, 2012, at the request of Defendant Miller, Plaintiff Smith took
over as Master of the KELSEY NICOLE in Ventura, California and continued to serve as
Master until June 20, 2013.

3.16 At the time of hiring, Defendant Miller orally promised to pay Plaintiff 20% of
the gross vessel earnings from the 2013 Squid Fishery.

3.17. At the time of hiring, Defendant Miller requested that Plaintiff Smith look after
the KELSEY NICOLE in his absence, perform repairs, maintenance and outfitting of the
F/V KELSEY NICOLE at its moorage in Ventura, California in preparation for the 2013
Squid Fishery.

3.18 Between December 12, 2012 and April 27, 2013, Plaintiff Smith performed
repairs, maintenance and outfitting of the F/V KELSEY NICOLE in Ventura, California.
Plaintiff Smith expended in excess of 800 hours while performing said services. Plaintiff
Smith is entitled to wages at the rate of $25.00 per hour, or such greater amount as is proven
at trial, for the over 800 hours for a total in excess of $20,000.00 for his labor on the
F/V KELSEY NICOLE.

VERIFIED COMPLAINT IN REM AND IN PERSONAM FOR HAROLD A. THOREEN, P.S., INC.
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3.19 Defendant Miller did not have a written fishing agreement with Plaintiff Smith
for his service to the F/(V KELSEY NICOLE prior to April 28, 2013 for the 2013 Squid
Fishery.

3.20 Despite demand, Defendant Miller has not paid Plaintiff Smith for his wages for
repairing, maintaining and outfitting the F/V KELSEY NICOLE for the 2013 Squid Fishery.

4, 2013 CALIFORNIA SQUID FISHERY

3.21 Onor about April 28, 2013 Defendant Miller presented Plaintiff Smith with a
“Commercial Fishing Crew Contract for the F/V Kelsey Nicole” (Crew Contract) and an
F/V KELSEY NICOLE “Hired Skipper” Addendum (Hired Skipper Addendum) while in
Ventura, California. The “Hired Skipper” Addendum promised Plaintiff Smith employment
for the 2013 California Squid Fishery and a 20% crew share.

3.22. On April 28, 2013 Plaintiff Smith signed the Crew Contract and Hired Skipper
Addendum. Defendant Miller did not sign or deliver a signed copy of said documents to
Plaintiff Smith.

3.23 Inreliance on Defendant Miller’s promises and the “Hired Skipper” Addendum,
Plaintiff Smith turned down other commercial fishing employment opportunities, including
employment as the Master of the F/(V BAINBRIDGE.

3.24 Plaintiff Smith operated the F/V KELSEY NICOLE as hired Skipper during the
2013 California Squid Fishery for Defendant Miller from April 28, 2013 to June 20, 2013.

3.25 On June 20, 2013, Defendant Miller wrongfully terminated Plaintiff Smith’s
employment on the F/V KELSEY NICOLE without cause.

3.26 Defendant Miller has not presented Plaintiff Smith with a full accounting for the
income and expenses of the KELSEY NICOLE during the April 28, 2012 — June 20, 2013
duration of his employment as Skipper onboard the KELSEY NICOLE in violation of
46 U.S.C. § 10602.

3.27 On information and belief, Defendant Miller has not fully paid Plaintiff Smith
his 20% captain’s share for the period April 28 — June 20, 2013, in such amount as will be
proven at trial.

3.28 Defendant Miller had not paid Plaintiff Smith for his agreed 20% captain’s

share for the period commencing June 20, 2013 when he was wrongfully terminated through

VERIFIED COMPLAINT IN REM AND IN PERSONAM FOR HAROLD A. THOREEN, P.S., INC.

FORECLOSURE OF PREFERRED MARITIME LIENS - 5 FISHERMEN’S TERMINAL * NORDBY BUILDING
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the end of the California Squid fishing season in September 2013 in such amount as will be
proven at trial but for the purpose of this pleading is believed to be in excess of $79,000.00.
3.29 Asaresult of Defendant Miller’s wrongful termination of Plaintiff Smith’s
employment on the F/(V KELSEY NICOLE, Plaintiff Smith lost the greater of the 20% crew
share for the remainder of the 2013 California Squid Season or such income from other
employment opportunities in such amounts as will be proven at trial.
IV. CLAIMS

1. First Claim for Relief
Failure to Pay Wages for 2012 Outfitting and
Delivery of the KELSEY NICOLE

4.1 Plaintiff Smith realleges sections 3.1 — 3.8 above.

4.2 Defendant Miller owes Plaintiff Smith $6,000.00 in wages for his labor in
outfitting the KELSEY NICOLE, $1,800.00 in out-of-pocket expenses in outfitting the
KELSEY NICOLE, and $3,300.00 in wages for his delivery of the KELSEY NICOLE from

 

Everett, Washington to Moss Landing, California, or such greater amounts as are proven at
trial.

4.3 Defendant Miller failed to have a written fishing agreement with Plaintiff Smith
for the aforesaid outfitting and voyage as required by 46 U.S.C. § 10601. As a result of said
failure, Plaintiff Smith is entitled to the highest rate of wages paid for vessel outfitting and
crewing of the KELSEY NICOLE at the Port of Everett pursuant to 46 U.S.C. § 10602.

44 Defendant Miller’s failure to pay Plaintiff Smith the aforesaid wages is a
violation of 46 U.S.C. § 10601, A.S. § 23.05.140, RCW 49.52.050 and RCW 49.52.070,
California Labor Code Section 200, ef seg., and such other applicable statutes which entitle
Plaintiff Smith to his unpaid wages, unreimbursed costs, compensatory and punitive damages,
and his attorney’s fees and costs.

2. Second Claim for Relief
Failure to Pay Wages for 2012 California Squid/Sardine Fishery

4.5 Plaintiff Smith alleges sections 3.9 — 3.13 above.
4.6 Defendant Miller owes Plaintiff Smith a balance of $3,000.00 in wages, or such
greater amount as is proven at trial for serving as engineer and Master of the KELSEY

NICOLE from October 22, 2012 — December 11, 2012.

VERIFIED COMPLAINT IN REM AND IN PERSONAM FOR HAROLD A. THOREEN, P.S., INC.
FORECLOSURE OF PREFERRED MARITIME LIENS - 6 TISHERMEN'S TERMINAL * NORDBY BUILDING
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4.7 Defendant Miller failed to have a written fishing agreement with Plaintiff Smith
as required by 46 U.S.C. § 10601. As a result of said failure, Plaintiff Smith is entitled to the
highest rate of wages paid a crewman at his port of hire in Everett, Washington pursuant to
46 U.S.C. § 10602.

4.8 Defendant Miller has not provided Plaintiff Smith with a full accounting of the
income and expenses of the KELSEY NICOLE during the course of his employment as
provided at 46 U.S.C. § 10602. As a result of said failure, Plaintiff Smith is owed the highest
amount alleged for his crew share in the Port of Everett, Washington.

4.9 Defendant Miller’s failure to pay Plaintiff Smith the aforesaid wages is in
violation of 46 U.S.C. § 10601, 46 U.S.C. § 10602, A.S. § 23.05.140 and the California Labor
Code, Section 200, ef seg., and such other applicable statutes which entitle Plaintiff Smith to
an award of his unpaid wages, unreimbursed costs, compensatory and punitive damages, and
attorney’s fees and costs.

3. Third Claim for Relief
Failure to Pay for 2012-2013 Outfitting of KELSEY NICOLE

4.10 Plaintiff Smith realleges sections 3.14-3.20 above.

4.11 Defendant Miller owes Plaintiff Smith $20,000.00 or such greater amount as is
proven at trial for his wages in outfitting the KELSEY NICOLE.

4.12 Defendant Miller failed to have a written fishing agreement with Plaintiff Smith
as required by 46 U.S.C. § 10601. As a result of said failure, Plaintiff Smith is owed the
highest rate of wages paid for vessel outfitting in the Port of Ventura, California.

4.13 Defendant Miller’s failure to pay Plaintiff Smith the aforesaid wages is in
violation of 46 U.S.C. § 10601, 46 U.S.C. § 10602, A.S. § 23.05.140 and the California Labor
Code, Section 200, et seg., and such other applicable statutes which entitle Plaintiff Smith to
an award of his unpaid wages, unreimbursed costs, compensatory and punitive damages, and
attorney’s fees and costs.

4. Fourth Claim for Relief
2013 California Squid Fishery
Failure to Fully Pay Wages / Wrongful Termination

4.14 Plaintiff Smith realleges sections 3.20-3.28 above.

VERIFIED COMPLAINT IN REM AND IN PERSONAM FOR HAROLD A. THOREEN, P.S., INC.
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4.15 Defendant Miller wrongfully terminated Plaintiff Smith’s employment on the
KELSEY NICOLE on June 20, 2012 for the remainder of the 2013 California Squid Fishery.

4.16 Defendant Miller failed to fully account for the income and expenses of the
KELSEY NICOLE for the 2013 California Squid Fishery as required by 26 U.S.C. § 10602.
As a result, Plaintiff Smith is owed the highest amount paid for a captain’s share out of the
Port of Everett.

4.17 Defendant Miller owes Plaintiff Smith the balance of his earned wages for the
period April 28, 2012 — June 20, 2013 and the greater of unearned wages thereafter until the
condition of the 2013 California Squid Fishing or his lost opportunity costs which for the
purpose of this pleading Plaintiff Miller Smith believes to be in excess of $79,000.00 or such
greater amount as will be proven at trial.

4.18 Defendant Miller’s failure to account for and pay Plaintiff Smith the aforesaid
wages is a violation of 46 U.S.C. § 10602, AS § 23.05.140 and the California Labor Code,
Section 200, ef seq., and such other applicable statutes which entitled Plaintiff Smith to an
award of his unpaid wages and costs, compensatory salary and punitive damages and
attorney’s fees and costs.

PRAYER

WHEREFORE, Plaintiff Joshua J. E. Smith, having asserted claims for relief, now
requests judgment against Defendant Joshua J. Miller as follows:

1. For unpaid wages and out-of-pocket expenses repairing, maintaining and
outfitting the F*V KELSEY NICOLE and delivery of the F/)V KELSEY NICOLE to California
for the 2012 Sardine Fishery and the 2013 Squid Fishery;

2. For a crew share earned from the 2013 Squid Fishery after his wrongful

termination;
3. For lost opportunity income;
4. For compensatory and punitive damages and attorney fees and costs pursuant to

46 U.S.C. § 10602, A.S. § 23.05.140 and/or RCW 49.52.050 and RCW 49.52.070, and
California Labor Code Section 200, et seq.;
5. For pre and post judgment interest at the maximum permissible rate;

6. For the right to amend his Complaint to conform to the evidence; and

VERIFIED COMPLAINT IN REM AND IN PERSONAM FOR HAROLD A. THOREEN, P-.S., INC.

FORECLOSURE OF PREFERRED MARITIME LIENS - 8 FISHERMEN’S TERMINAL * NORDBY BUILDING
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dL. For such other and further relief it deems just and reasonable
DATED this 2>_ day of _ tbr ye , 2015.
A. THORKEEN, P.S., INC.
HarokPA. ThoreerWSBA #6378

Attorney for Plaintiff Joshua J. E. Smith
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Seattle, Washington 98119-1633
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VERIFIED COMPLAINT IN REM AND IN PERSONAM FOR HAROLD A. THOREEN, P.S., INC.

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VERIFICATION

I, Joshua J. E. Smith, declare under penalty of perjury under the laws of the United

States of America that the foregoing is true and correct.

DATED this 25 dayof_F eh? vos y2015.

HUA J. EoSMITH

‘State of Washington

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Signed or attested before me ou Feb. 36 .30\44 ye

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DONALD A. ROSSJR. ¢ Signature -
: NOTARY PUBLIC t
i STATE OF WASHINGTON } ——

i My Commission Expires Mar. 09, 2016!

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VERIFIED COMPLAINT IN REM AND IN PERSONAM FOR
FORECLOSURE OF PREFERRED MARITIME LIENS - 10

My appointment expires

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HAROLD A. THOREEN, P.S., INc.
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